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 7
                               UNITED STATES DISTRICT COURT
 8                            EASTERN DISTRICT OF WASHINGTON
 9
      UNITED STATES OF AMERICA,                  )
10                                               )    No. CR-07-094-LRS-5
                        Plaintiff,               )
11                                               )    ORDER GRANTING MOTIONS AND
      v.                                         )    MODIFYING CONDITIONS OF
12                                               )    RELEASE
      BRIAN T. DONAHUE,                          )
13                                               )
                        Defendant.               )
14                                               )

15           Defendant Brian T. Donahue’s Motion to Enlarge Time (Ct. Rec.

16   140) and First Amended Motion to Enlarge Time (Ct. Rec. 143) are

17   GRANTED as moot.

18           Defendant’s unopposed Motion to Amend conditions of release to

19   allow    travel   to     Idaho   and    throughout        Washington   for   business

20   purposes, without seeking prior approval of Pretrial Services (Ct.

21   Rec. 144) is GRANTED; provided, however, Defendant shall notify U.S.

22   Probation Officer Sauther of when and where he will travel and when

23   he returns, so that U.S. Probation Officer Sauther knows when he is

24   away from the District.

25           All other conditions of release from the July 11, 2007, Order

26   (Ct. Rec. 57), as modified by the May 5, 2008, Order (Ct. Rec. 137)

27   remain.

28           Defendant shall sign a copy of this Order, to be kept in


     ORDER GRANTING MOTIONS AND MODIFYING CONDITIONS OF RELEASE - 1
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 1   Pretrial Services’ file.
 2         IT IS SO ORDERED.
 3         DATED May 27, 2008.
 4
 5                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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 7
     READ, UNDERSTOOD AND AGREED:
 8
     _____________________________
 9   BRIAN T. DONAHUE         Date
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     ORDER GRANTING MOTIONS AND MODIFYING CONDITIONS OF RELEASE - 2
